                                              Case
 Fill in this information to identify your case:      19-14173                Doc 1    Filed 03/28/19             Page 1 of 62
 United States Bankruptcy Court for the:

                     District of Maryland

 Case number (If known):                         Chapter you are filing under:
                                                 ✔
                                                 ❑         Chapter 7
                                                 ❑         Chapter 11
                                                 ❑         Chapter 12
                                                 ❑         Chapter 13                                                                           ❑Check if this is an
                                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your         Janet                                                             Michael
       government-issued picture              First name                                                       First name
       identification (for example, your      Stacy                                                             Richard
       driver’s license or passport).         Middle name                                                      Middle name

       Bring your picture identification to   Kaplan                                                            Kaplan
       your meeting with the trustee.         Last name                                                        Last name


                                              Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                              First name                                                       First name
       Include your married or maiden
       names.                                 Middle name                                                      Middle name


                                              Last name                                                        Last name




                                              First name                                                       First name


                                              Middle name                                                      Middle name


                                              Last name                                                        Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 8        8       3   2                                xxx - xx - 2         3       4    5
       Social Security number or
       federal Individual Taxpayer            OR                                                               OR
       Identification number                  9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
 Debtor 1            Janet               Case
                                          Stacy 19-14173                 Doc
                                                                       Kaplan   1      Filed 03/28/19           Page 2 of 62
 Debtor 2            Michael              Richard                      Kaplan                                             Case number (if known)
                     First Name           Middle Name                  Last Name




                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification             ✔I have not used any business names or EINs.
                                           ❑                                                                   ✔I have not used any business names or EINs.
                                                                                                               ❑
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing       Business name                                                       Business name
       business as names

                                           Business name                                                       Business name


                                                        -                                                                   -
                                           EIN                                                                 EIN


                                                        -                                                                   -
                                           EIN                                                                 EIN




                                                                                                               If Debtor 2 lives at a different address:
  5.   Where you live
                                           3643 Islington Street
                                           Number             Street                                           Number            Street




                                           Frederick, MD 21704
                                           City                                     State     ZIP Code         City                                     State     ZIP Code

                                           Frederick
                                           County                                                              County

                                           If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                           it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                           this mailing address.                                           to you at this mailing address.


                                           Number             Street                                           Number            Street



                                           P.O. Box                                                            P.O. Box



                                           City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this           Check one:                                                          Check one:
       district to file for bankruptcy
                                           ✔
                                           ❑      Over the last 180 days before filing this petition, I have   ✔
                                                                                                               ❑      Over the last 180 days before filing this petition, I have
                                                  lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                           ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1           Janet                Case
                                          Stacy 19-14173             Doc
                                                                   Kaplan     1     Filed 03/28/19              Page 3 of 62
 Debtor 2           Michael               Richard                  Kaplan                                               Case number (if known)
                    First Name            Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy      (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                          ✔
                                          ❑     Chapter 7
                                          ❑     Chapter 11
                                          ❑     Chapter 12
                                          ❑     Chapter 13




  8.   How you will pay the fee           ✔
                                          ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.

                                          ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              Your Filing Fee in Installments (Official Form 103A).

                                          ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                              that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                              out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                          ✔ No.
                                          ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?           ❑Yes.     District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY



                                          ✔ No.
                                          ❑
  10. Are any bankruptcy cases
       pending or being filed by a        ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business              District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                      MM / DD / YYYY


                                                    Debtor                                                                       Relationship to you

                                                    District                                      When                           Case number, if known
                                                                                                         MM / DD / YYYY



                                          ✔
                                          ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                          ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                     ❑   No. Go to line 12.

                                                     ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                         of this bankruptcy petition.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1             Janet                   Case
                                               Stacy 19-14173             Doc
                                                                        Kaplan    1      Filed 03/28/19               Page 4 of 62
 Debtor 2             Michael                  Richard                  Kaplan                                            Case number (if known)
                      First Name               Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


                                               ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?             ✔
                                               ❑   Yes. Name and location of business

      A sole proprietorship is a business          Heaven is Within
      you operate as an individual, and is         Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.          3643 Islington Street
                                                   Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.
                                                   Frederick                                                  MD            21704
                                                   City                                                       State        ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                   ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                   ✔
                                                   ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business       ✔
                                               ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                               ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                              Bankruptcy Code.

                                               ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                              Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                               ✔
                                               ❑   No.
  14. Do you own or have any
      property that poses or is                ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                         If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                       Where is the property?
      needs urgent repairs?
                                                                                      Number         Street




                                                                                       City                                               State               ZIP Code




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1            Janet                Case
                                           Stacy 19-14173               Doc
                                                                      Kaplan     1      Filed 03/28/19            Page 5 of 62
 Debtor 2            Michael               Richard                    Kaplan                                             Case number (if known)
                     First Name            Middle Name                 Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔                                                                     ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑     Incapacity. I have a mental illness or a mental                 ❑    Incapacity. I have a mental illness or a mental
                                                                 deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                 of realizing or making rational                                      of realizing or making rational
                                                                 decisions about finances.                                            decisions about finances.
                                               ❑     Disability.   My physical disability causes me to               ❑    Disability.   My physical disability causes me to
                                                                   be unable to participate in a briefing                               be unable to participate in a briefing
                                                                   in person, by phone, or through the                                  in person, by phone, or through the
                                                                   internet, even after I reasonably tried                              internet, even after I reasonably tried
                                                                   to do so.                                                            to do so.
                                               ❑     Active duty. I am currently on active military duty in          ❑    Active duty. I am currently on active military duty in
                                                                  a military combat zone.                                              a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1            Janet                Case
                                           Stacy 19-14173                Doc
                                                                       Kaplan   1      Filed 03/28/19               Page 6 of 62
 Debtor 2            Michael                Richard                    Kaplan                                             Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ✔
                                                           ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Janet Stacy Kaplan                                                 ✘ /s/ Michael Richard Kaplan
                                         Janet Stacy Kaplan, Debtor 1                                             Michael Richard Kaplan, Debtor 2
                                         Executed on 03/28/2019                                                   Executed on 03/28/2019
                                                         MM/ DD/ YYYY                                                             MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1            Janet                  Case
                                             Stacy 19-14173            Doc
                                                                     Kaplan    1      Filed 03/28/19             Page 7 of 62
 Debtor 2            Michael                 Richard                 Kaplan                                             Case number (if known)
                     First Name              Middle Name              Last Name



   For your attorney, if you are               I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                          under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                               which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an            in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this      filed with the petition is incorrect.
   page.

                                               ✘ /s/ Kevin K Shipe                                                      Date 03/28/2019
                                                   Kevin K Shipe, Attorney                                                     MM / DD / YYYY




                                                    Kevin K Shipe
                                                   Printed name

                                                   The Law Offices of Shipe & Bush, P.C.
                                                   Firm name


                                                   Number          Street

                                                    3528 Worthington Blvd.

                                                   Frederick                                                            MD      21704
                                                   City                                                                State    ZIP Code



                                                   Contact phone (301) 874-9030                                     Email address kshipe@shipebushlaw.com


                                                   17437                                                                MD
                                                   Bar number                                                          State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                                                       Case 19-14173
 Fill in this information to identify your case and this filing:
                                                                                              Doc 1             Filed 03/28/19                      Page 8 of 62

  Debtor 1                          Janet                        Stacy                      Kaplan
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Michael                      Richard                    Kaplan
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                                District of Maryland
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     3643 Islington Street                                           What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ✔ Duplex or multi-unit building
              description
                                                                             ❑                                                                             Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Frederick, MD 21704                                           ❑ Land                                                                                  $360,000.00                    $360,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Frederick
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Tenants by the Entirety
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)




    If you own or have more than one, list here:

      1.2     Sheraton Desert Oasis 17700 Hayden                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Road
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
              description
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land                                                                                    $1,000.00                      $1,000.00
              Scottsdale, AZ 85255                                           ❑ Investment property
              City                               State        ZIP Code       ✔ Timeshare
                                                                             ❑                                                                           Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Maricopa
                                                                             ❑ Other                                                                     estate), if known.
              County                                                          Who has an interest in the property? Check one.
                                                                                                                                                          Sheraton Desert Oasis
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $361,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1                   Janet                      Case
                                                        Stacy 19-14173                       Doc
                                                                                           Kaplan        1       Filed 03/28/19                       Page 9 of 62
 Debtor 2                   Michael                       Richard                          Kaplan                                                              Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Toyota                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Prius
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2016                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   57000                                                                                                   entire property?             portion you own?
            Approximate mileage:                                                                                                                                        $16,000.00                  $16,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Escape                    ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2010                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $5,200.00                   $5,200.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $21,200.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                     Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1              Janet               Case
                                            Stacy 19-14173               Doc
                                                                        Kaplan   1     Filed 03/28/19              Page 10 of 62
 Debtor 2              Michael                Richard                   Kaplan                                            Case number (if known)
                       First Name             Middle Name               Last Name



 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Bedroom Set ($200), 2nd bedroom set ($150), Daybed ($50), Painted Dresser ($30), Kitchen table and
                                      chairs ($75), 23 yr old sectional couch ($20), Painted Buffet Cabinet ($250), Painted Tv cabinet ($40), 2     $1,215.00
                                      laminated tables and rolling file cabinet ($100), Ikea bookshelf ($20), Printer Stand ($20), cookware and
                                      kitchenware ($100), Books ($20), Decorations ($200)


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.                                                                                                  $720.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      3 Hummels ($30), sculpture ($150), Flowercart painting ($150), Antique Mirrors ($50), Antique
                                      bookshelf ($1500)
                                                                                                                                                    $1,880.00



 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Treadmill                                                                                                      $150.00



 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      See Attached.                                                                                                 $1,250.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      See Attached.
                                                                                                                                                    $3,588.00



 13.    Non-farm animals
        Examples:    Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      8-year-old mutt                                                                                                  $1.00




Official Form 106A/B                                                              Schedule A/B: Property                                           page 3
 Debtor 1                     Janet                         Case
                                                             Stacy 19-14173                              Doc
                                                                                                        Kaplan        1        Filed 03/28/19                            Page 11 of 62
 Debtor 2                     Michael                            Richard                                Kaplan                                                                     Case number (if known)
                              First Name                         Middle Name                            Last Name



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                      $8,804.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                Capital One                                                                                                                         $2,064.40


 17.2. Checking account:                                Capital One Bank                                                                                                                    $1,526.18


 17.3. Savings account:


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:                         State Unemployment Debit Card                                                                                                        $562.90


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4
 Debtor 1                  Janet                   Case
                                                    Stacy 19-14173       Doc
                                                                        Kaplan   1     Filed 03/28/19              Page 12 of 62
 Debtor 2                  Michael                    Richard           Kaplan                                             Case number (if known)
                           First Name                 Middle Name        Last Name



 18.    Bonds, mutual funds, or publicly traded stocks
        Examples:       Bond funds, investment accounts with brokerage firms, money market accounts
        ✔ No
        ❑
        ❑ Yes..................
 19.    Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture

        ✔ No
        ❑
        ❑ Yes. Give specific
            information about
            them...................

 20.    Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        ✔ No
        ❑
        ❑ Yes. Give specific
            information about
            them...................

 21.    Retirement or pension accounts
        Examples:       Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

        ❑ No
        ✔ Yes. List each account
        ❑
            separately.
 Type of account:                     Institution name:

 401(k) or similar plan:              Fidelity                                                                                    $58,225.65


 401(k) or similar plan:              Merrill Lynch                                                                               $14,065.17


 IRA:                                 Security Trust                                                                              $10,193.99

 22.    Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
        others
        ✔ No
        ❑
        ❑ Yes.....................
 23.    Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

        ✔ No
        ❑
        ❑ Yes.....................
 24.    Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        ✔ No
        ❑
        ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.    Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
        benefit

        ✔ No
        ❑
        ❑ Yes. Give specific
            information about them....



Official Form 106A/B                                                               Schedule A/B: Property                                           page 5
 Debtor 1              Janet                Case
                                             Stacy 19-14173              Doc
                                                                        Kaplan   1      Filed 03/28/19           Page 13 of 62
 Debtor 2              Michael                  Richard                 Kaplan                                           Case number (if known)
                       First Name               Middle Name             Last Name



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                               Federal:
                 them, including whether you
                 already filed the returns and the                                                                          State:
                 tax years.......................
                                                                                                                            Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                            Alimony:

                                                                                                                               Maintenance:

                                                                                                                            Support:

                                                                                                                               Divorce settlement:

                                                                                                                            Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else

       ❑ No
       ✔ Yes.
       ❑         Give specific information..........      Consulting work payment due
                                                                                                                                                                       $768.75




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                            Company name:                                       Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....




Official Form 106A/B                                                             Schedule A/B: Property                                                             page 6
 Debtor 1                  Janet                      Case
                                                       Stacy 19-14173                         Doc
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 Debtor 2                  Michael                        Richard                            Kaplan                                                               Case number (if known)
                           First Name                      Middle Name                       Last Name



 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                          $87,407.04



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 7
 Debtor 1                  Janet                      Case
                                                       Stacy 19-14173                        Doc
                                                                                            Kaplan       1       Filed 03/28/19                        Page 15 of 62
 Debtor 2                  Michael                        Richard                           Kaplan                                                                Case number (if known)
                           First Name                      Middle Name                       Last Name



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
 Debtor 1                   Janet                       Case
                                                         Stacy 19-14173                           Doc
                                                                                                 Kaplan       1       Filed 03/28/19                          Page 16 of 62
 Debtor 2                   Michael                          Richard                             Kaplan                                                                  Case number (if known)
                            First Name                       Middle Name                          Last Name



 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                              $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership

       ❑ No
       ✔ Yes. Give specific
       ❑                                          Club Wyndham Timeshare Points
                                                                                                                                                                                                          $200.00

            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                             $200.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                  $361,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $21,200.00


 57.   Part 3: Total personal and household items, line 15                                                                     $8,804.00


 58.   Part 4: Total financial assets, line 36                                                                               $87,407.04


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                         $200.00


 62.   Total personal property. Add lines 56 through 61..............                                                       $117,611.04             Copy personal property total➜          +      $117,611.04




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                 page 9
 Debtor 1                 Janet                    Case
                                                    Stacy 19-14173                      Doc
                                                                                       Kaplan      1       Filed 03/28/19                      Page 17 of 62
 Debtor 2                 Michael                      Richard                         Kaplan                                                            Case number (if known)
                          First Name                    Middle Name                     Last Name




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................              $478,611.04




Official Form 106A/B                                                                                 Schedule A/B: Property                                                        page 10
                                     Case 19-14173              Doc 1         Filed 03/28/19     Page 18 of 62
 Debtor 1              Janet            Stacy                  Kaplan
 Debtor 2              Michael          Richard                Kaplan                                 Case number (if known)
                       First Name       Middle Name            Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 7.    Electronics
       Desktop computer ($150), Samsung laptop ($150), printer ($20)                                                            $320.00
       TV ($50), iPhone 7 ($200), Android phone ($100), old iPad mini ($50)                                                     $400.00

 11.   Clothes
       Clothes                                                                                                                  $500.00
                                                                                                                                $500.00
       Purses                                                                                                                   $250.00

 12. Jewelry
       Engagement Ring ($700), Diamond Pendant and gold chain ($643), Graduated Pearls ($100), Tennis Bracelet                 $3,438.00
       ($1000), Charm Bracelet ($665), gold wedding band ($100), sapphire and gold necklace ($200)
       Movado Watch                                                                                                             $150.00




Official Form 106A/B                                                    Schedule A/B: Property
                                            Case 19-14173               Doc 1         Filed 03/28/19              Page 19 of 62
 Fill in this information to identify your case:

  Debtor 1                    Janet                Stacy               Kaplan
                              First Name           Middle Name         Last Name

  Debtor 2                    Michael              Richard             Kaplan
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                            District of Maryland

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 Sheraton Desert Oasis 17700 Hayden Road                                    $1,000.00
                                                                                         ❑                  $401.16               Md. Code Ann., Cts. & Jud. Proc. §

 Scottsdale, AZ 85255                                                                    ❑    100% of fair market value, up to    11-504(f)(1)(i)(1)
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.2


                                                                                         ✔
 Brief description:
 2016 Toyota Prius                                                         $16,000.00
                                                                                         ❑                  $950.00               Md. Code Ann., Cts. & Jud. Proc. §
                                                                                         ❑    100% of fair market value, up to    11-504(b)(5)
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 4
 Debtor 1             Janet            Case
                                        Stacy 19-14173             Doc
                                                                  Kaplan   1     Filed 03/28/19           Page 20 of 62
 Debtor 2             Michael              Richard                Kaplan                                          Case number (if known)
                      First Name           Middle Name             Last Name


 Part 2: Additional Page

 Brief description of the property and line on            Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                    portion you own
                                                          Copy the value from      Check only one box for each exemption.
                                                          Schedule A/B
 Brief description:
 2010 Ford Escape                                                      $5,200.00

 Line from
 Schedule A/B:        3.2


                                                                                   ✔
 Brief description:
 Bedroom Set ($200), 2nd bedroom set ($150), Daybed                    $1,215.00
                                                                                   ❑                $1,215.00                 Md. Code Ann., Cts. & Jud. Proc. §

 ($50), Painted Dresser ($30), Kitchen table and                                   ❑   100% of fair market value, up to       11-504(b)(4)
 chairs ($75), 23 yr old sectional couch ($20), Painted                                any applicable statutory limit
 Buffet Cabinet ($250), Painted Tv cabinet ($40), 2
 laminated tables and rolling file cabinet ($100), Ikea
 bookshelf ($20), Printer Stand ($20), cookware and
 kitchenware ($100), Books ($20), Decorations ($200)

 Line from
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Desktop computer ($150), Samsung laptop ($150),                         $320.00
                                                                                   ❑                 $320.00                  Md. Code Ann., Cts. & Jud. Proc. §

 printer ($20)                                                                     ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         7


                                                                                   ✔
 Brief description:
 TV ($50), iPhone 7 ($200), Android phone ($100), old                    $400.00
                                                                                   ❑                 $400.00                  Md. Code Ann., Cts. & Jud. Proc. §

 iPad mini ($50)                                                                   ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         7


                                                                                   ✔
 Brief description:
 3 Hummels ($30), sculpture ($150), Flowercart                         $1,880.00
                                                                                   ❑                $1,880.00                 Md. Code Ann., Cts. & Jud. Proc. §

 painting ($150), Antique Mirrors ($50), Antique                                   ❑   100% of fair market value, up to       11-504(b)(5)
 bookshelf ($1500)                                                                     any applicable statutory limit

 Line from
 Schedule A/B:         8


                                                                                   ✔
 Brief description:
 Treadmill                                                               $150.00
                                                                                   ❑                 $150.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                   ❑   100% of fair market value, up to       11-504(b)(5)
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         9


                                                                                   ✔
 Brief description:
 Clothes                                                                 $500.00
                                                                                   ❑                 $500.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                   ❑   100% of fair market value, up to       11-504(b)(4)
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        11




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                   page 2 of 4
 Debtor 1             Janet            Case
                                        Stacy 19-14173           Doc
                                                                Kaplan   1     Filed 03/28/19            Page 21 of 62
 Debtor 2             Michael             Richard               Kaplan                                           Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 Clothes                                                               $500.00
                                                                                  ❑                 $285.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                  ❑   100% of fair market value, up to       11-504(b)(4)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11
                                                                                  ✔
                                                                                  ❑                 $215.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                  ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                      any applicable statutory limit


                                                                                  ✔
 Brief description:
 Purses                                                                $250.00
                                                                                  ❑                 $250.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                  ❑   100% of fair market value, up to       11-504(b)(5)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11


                                                                                  ✔
 Brief description:
 Engagement Ring ($700), Diamond Pendant and gold                    $3,438.00
                                                                                  ❑                $3,438.00                 Md. Code Ann., Cts. & Jud. Proc. §

 chain ($643), Graduated Pearls ($100), Tennis                                    ❑   100% of fair market value, up to       11-504(b)(5)
 Bracelet ($1000), Charm Bracelet ($665), gold                                        any applicable statutory limit
 wedding band ($100), sapphire and gold necklace
 ($200)

 Line from
 Schedule A/B:        12


                                                                                  ✔
 Brief description:
 Movado Watch                                                          $150.00
                                                                                  ❑                 $150.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                  ❑   100% of fair market value, up to       11-504(b)(5)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        12


                                                                                  ✔
 Brief description:
 8-year-old mutt                                                          $1.00
                                                                                  ❑                  $1.00                   Md. Code Ann., Cts. & Jud. Proc. §
                                                                                  ❑   100% of fair market value, up to       11-504(f)(1)(i)(1)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        13


                                                                                  ✔
 Brief description:
 Capital One                                                         $2,064.40
                                                                                  ❑                $2,064.40                 Md. Code Ann., Cts. & Jud. Proc. §

 Checking account                                                                 ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Capital One Bank                                                    $1,526.18
                                                                                  ❑                $1,526.18                 Md. Code Ann., Cts. & Jud. Proc. §

 Checking account                                                                 ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    page 3 of 4
 Debtor 1             Janet            Case
                                        Stacy 19-14173           Doc
                                                                Kaplan   1     Filed 03/28/19           Page 22 of 62
 Debtor 2             Michael             Richard               Kaplan                                          Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 State Unemployment Debit Card                                         $562.90
                                                                                 ❑                 $456.42                  Md. Code Ann., Cts. & Jud. Proc. §

 Other financial account                                                         ❑   100% of fair market value, up to       11-504(b)(5)
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        17                                                         ✔
                                                                                 ❑                 $106.48                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(f)(1)(i)(1)
                                                                                     any applicable statutory limit


                                                                                 ✔
 Brief description:
 Security Trust                                                     $10,193.99
                                                                                 ❑               $10,193.99                 Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(h)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        21


                                                                                 ✔
 Brief description:
 Fidelity                                                           $58,225.65
                                                                                 ❑               $58,225.65                 Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(h)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        21


                                                                                 ✔
 Brief description:
 Merrill Lynch                                                      $14,065.17
                                                                                 ❑               $14,065.17                 Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(h)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        21


                                                                                 ✔
 Brief description:
 Consulting work payment due                                           $768.75
                                                                                 ❑                 $768.75                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(f)(1)(i)(1)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        30


                                                                                 ✔
 Brief description:
 Club Wyndham Timeshare Points                                         $200.00
                                                                                 ❑                 $200.00                  Md. Code Ann., Cts. & Jud. Proc. §
                                                                                 ❑   100% of fair market value, up to       11-504(b)(5)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        53




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   page 4 of 4
                                              Case 19-14173
 Fill in this information to identify your case:
                                                                              Doc 1           Filed 03/28/19               Page 23 of 62

  Debtor 1                       Janet                   Stacy                Kaplan
                                 First Name          Middle Name             Last Name

  Debtor 2                       Michael                 Richard              Kaplan
  (Spouse, if filing)            First Name          Middle Name             Last Name

  United States Bankruptcy Court for the:                                   District of Maryland

  Case number                                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for           Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much          Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                               Do not deduct the      that supports         portion
                                                                                                                           value of collateral.   this claim            If any
 2.1 BB&T                                                   Describe the property that secures the claim:                           $6,058.00              $5,200.00              $858.00
        Creditor's Name
                                                             2010 Ford Escape
         Attn: Bankruptcy
         PO Box 1847
        Number          Street
                                                            As of the date you file, the claim is: Check all that apply.

         Wilson, NC 27894                                   ❑Contingent
        City                        State     ZIP Code      ❑Unliquidated
        Who owes the debt? Check one.                       ❑Disputed
        ❑Debtor 1 only                                      Nature of lien. Check all that apply.
        ❑Debtor 2 only                                      ❑An agreement you made (such as mortgage or
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                         secured car loan)
        ❑At least one of the debtors and another            ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                   ❑Judgment lien from a lawsuit
           community debt
                                                            ❑Other (including a right to offset)
        Date debt was incurred
        11/1/2015                                           Last 4 digits of account number 1            0   0    1

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $6,058.00




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
 Debtor 1              Janet             Case
                                          Stacy 19-14173                Doc
                                                                       Kaplan    1      Filed 03/28/19               Page 24 of 62
 Debtor 2              Michael              Richard                    Kaplan                                                Case number (if known)
                       First Name           Middle Name                Last Name


                                                                                                                     Column A               Column B              Column C
              Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                     Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                    value of collateral.   this claim            If any



 2.2 Flagstar Bank                                    Describe the property that secures the claim:                         $317,877.00           $360,000.00                   $0.00
     Creditor's Name
                                                       3643 Islington Street Frederick, MD 21704
      Attn: Bankruptcy
      5151 Corporate Drive
     Number          Street
                                                      As of the date you file, the claim is: Check all that apply.

      Troy, MI 48098                                  ❑Contingent
     City                        State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                    ❑Disputed
     ❑Debtor 1 only                                   Nature of lien. Check all that apply.
     ❑Debtor 2 only                                   ❑An agreement you made (such as mortgage or
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                   secured car loan)
     ❑At least one of the debtors and another         ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                ❑Judgment lien from a lawsuit
        community debt
                                                      ❑Other (including a right to offset)
     Date debt was incurred
     6/1/2011                                         Last 4 digits of account number 4            6   8    9




 2.3 Scottsdale Pinnacle Owners Association           Describe the property that secures the claim:                             $598.84              $1,000.00                  $0.00
     Creditor's Name
                                                       Sheraton Desert Oasis 17700 Hayden Road
      PO Box 936510                                    Scottsdale, AZ 85255
     Number          Street
      Atlanta, GA 31193                               As of the date you file, the claim is: Check all that apply.
     City                        State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                    ❑Unliquidated
     ❑Debtor 1 only                                   ❑Disputed
     ❑Debtor 2 only                                   Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                ✔An agreement you made (such as mortgage or
                                                      ❑
     ❑At least one of the debtors and another            secured car loan)
     ❑Check if this claim relates to a                ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                      ❑Judgment lien from a lawsuit
     Date debt was incurred                           ❑Other (including a right to offset)
                                                      Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       $318,475.84




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 4
 Debtor 1              Janet             Case
                                          Stacy 19-14173                Doc
                                                                       Kaplan    1      Filed 03/28/19               Page 25 of 62
 Debtor 2              Michael              Richard                    Kaplan                                                Case number (if known)
                       First Name           Middle Name                Last Name


                                                                                                                     Column A               Column B              Column C
              Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                     Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                    value of collateral.   this claim            If any



 2.4 Specialized Loan Servicing/SLS                   Describe the property that secures the claim:                          $46,884.00           $360,000.00                   $0.00
     Creditor's Name
                                                       3643 Islington Street Frederick, MD 21704
      Attn: Bankruptcy Dept
      8742 Lucent Blvd #300
     Number          Street
                                                      As of the date you file, the claim is: Check all that apply.

      Highlands Ranch, CO 80129                       ❑Contingent
     City                        State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                    ❑Disputed
     ❑Debtor 1 only                                   Nature of lien. Check all that apply.
     ❑Debtor 2 only                                   ❑An agreement you made (such as mortgage or
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                   secured car loan)
     ❑At least one of the debtors and another         ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                ❑Judgment lien from a lawsuit
        community debt
                                                      ❑Other (including a right to offset)
     Date debt was incurred
     8/1/2006                                         Last 4 digits of account number 0            9   7    3




 2.5 Toyota Financial Services                        Describe the property that secures the claim:                          $15,050.00            $16,000.00                   $0.00
     Creditor's Name
                                                       2016 Toyota Prius
      Attn: Bankruptcy
      PO Box 8026
     Number          Street
                                                      As of the date you file, the claim is: Check all that apply.

      Cedar Rapids, IA 52409-8026                     ❑Contingent
     City                        State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                    ❑Disputed
     ✔ Debtor 1 only
     ❑                                                Nature of lien. Check all that apply.
     ❑Debtor 2 only                                   ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                         secured car loan)
     ❑At least one of the debtors and another         ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                ❑Judgment lien from a lawsuit
        community debt
                                                      ❑Other (including a right to offset)
     Date debt was incurred
     9/1/2016                                         Last 4 digits of account number 0            0   0    1




      Add the dollar value of your entries in Column A on this page. Write that number here:                                        $61,934.00




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 4
 Debtor 1              Janet             Case
                                          Stacy 19-14173                Doc
                                                                       Kaplan    1      Filed 03/28/19               Page 26 of 62
 Debtor 2              Michael              Richard                    Kaplan                                                Case number (if known)
                       First Name           Middle Name                Last Name


                                                                                                                     Column A               Column B              Column C
              Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                     Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                    value of collateral.   this claim            If any



 2.6 Villages of Urbana Community Association,        Describe the property that secures the claim:                             $378.00           $360,000.00                   $0.00
     Inc.
                                                       3643 Islington Street Frederick, MD 21704
     Creditor's Name
      c/o CAS, Inc.
                                                      As of the date you file, the claim is: Check all that apply.
      18401 Woodfield Road Suite H
     Number           Street                          ❑Contingent
      Gaithersburg, MD 20879                          ❑Unliquidated
     City                        State   ZIP Code
                                                      ❑Disputed
     Who owes the debt? Check one.
     ❑Debtor 1 only                                   Nature of lien. Check all that apply.

     ❑Debtor 2 only                                   ❑An agreement you made (such as mortgage or
                                                         secured car loan)
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑At least one of the debtors and another         ❑Judgment lien from a lawsuit
     ❑Check if this claim relates to a                ✔Other (including a right to offset)
                                                      ❑
        community debt
                                                          HOA Dues
     Date debt was incurred
                                                      Last 4 digits of account number 1            3    I   S




      Add the dollar value of your entries in Column A on this page. Write that number here:                                           $378.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                         $386,845.84
      here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
                                            Case 19-14173
 Fill in this information to identify your case:
                                                                       Doc 1         Filed 03/28/19              Page 27 of 62

  Debtor 1                   Janet                 Stacy               Kaplan
                             First Name            Middle Name        Last Name

  Debtor 2                   Michael               Richard             Kaplan
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                           District of Maryland

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 8
 Debtor 1              Janet               Case
                                            Stacy 19-14173               Doc
                                                                        Kaplan   1     Filed 03/28/19               Page 28 of 62
 Debtor 2              Michael                Richard                   Kaplan                                             Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Advanced Behavioral Health, Inc.                                                                                                                                   $644.47
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        1003 7th Street
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Frederick, MD 21701                                                       ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
4.2     Children's Hospital                                                                                                                                           $1,338.54
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        P.O. Box 37214
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Baltimore, MD 21297                                                       ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
4.3     Citibank                                                                  Last 4 digits of account number 3740                                                $5,601.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/01/2015
        PO Box 6077                                                               As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Sioux Falls, SD 57117-6077
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
        ✔
        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 8
                                           Case 19-14173             Doc 1        Filed 03/28/19              Page 29 of 62
 Debtor 1              Janet                 Stacy                  Kaplan
 Debtor 2              Michael               Richard                Kaplan                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.4     Citibank                                                             Last 4 digits of account number 2980                                        $3,636.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/01/2003
        PO Box 6077
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57117-6077
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 CreditCard

       ❑      Yes
4.5     Citibank                                                             Last 4 digits of account number 0082                                        $6,191.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2017
        PO Box 6077
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57117-6077
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 CreditCard

       ❑      Yes
4.6     Citibank                                                             Last 4 digits of account number 7959                                       $10,363.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2009
        PO Box 6077
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57117-6077
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 8
                                           Case 19-14173             Doc 1        Filed 03/28/19              Page 30 of 62
 Debtor 1              Janet                 Stacy                  Kaplan
 Debtor 2              Michael               Richard                Kaplan                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.7     Citibank/Shell Oil                                                   Last 4 digits of account number 9282                                            $368.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/01/2006
        Citibank Corp/Centralized Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                             ❑   Contingent

        Saint Louis, MO 63179-0034
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.8     Citibank/The Home Depot                                              Last 4 digits of account number 9917                                        $3,002.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/01/2018
        Attn: Recovery/Centralized Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                             ❑   Contingent

        St Louis, MO 63179
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.9     Frederick Memorial Hospital                                                                                                                     $12,500.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        400 W 7th St
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Frederick, MD 21701-4506                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4 of 8
                                           Case 19-14173             Doc 1        Filed 03/28/19              Page 31 of 62
 Debtor 1              Janet                 Stacy                  Kaplan
 Debtor 2              Michael               Richard                Kaplan                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.10    Hospitalist Medicine Physicians of Maryland                                                                                                          $163.25
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 743522
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Los Angeles, CA 90074                                                ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.11    Monocacy Health Partners                                                                                                                             $584.55
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 37040
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Baltimore, MD 21297                                                  ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.12    Pediatrix Medical Group                                                                                                                              $192.52
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Attn: Patient Services
                                                                             As of the date you file, the claim is: Check all that apply.
        P.O. Box 120153
       Number           Street                                               ❑   Contingent
        Grand Rapids, MI 49528-0153                                          ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 8
                                           Case 19-14173             Doc 1        Filed 03/28/19              Page 32 of 62
 Debtor 1              Janet                 Stacy                  Kaplan
 Debtor 2              Michael               Richard                Kaplan                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.13    Suntrust Bank                                                        Last 4 digits of account number 3244                                        $5,954.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2016
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        Mail Code VA-RVW-6290 PO Box 85092
       Number           Street
                                                                             ❑   Contingent

        Richmond, VA 23286
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.14    Suntrust Bank                                                        Last 4 digits of account number 9792                                        $1,625.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2016
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        Mail Code VA-RVW-6290 PO Box 85092
       Number           Street
                                                                             ❑   Contingent

        Richmond, VA 23286
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.15    Synchrony Bank/Amazon                                                Last 4 digits of account number 3355                                            $466.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/01/2014
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 6 of 8
                                           Case 19-14173             Doc 1        Filed 03/28/19              Page 33 of 62
 Debtor 1              Janet                 Stacy                  Kaplan
 Debtor 2              Michael               Richard                Kaplan                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.16    Synchrony Bank/Car Care Napa                                         Last 4 digits of account number 0565                                        $1,507.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/01/2017
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5060
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.17    Visa Dept Store National Bank/Macy's                                 Last 4 digits of account number 5061                                            $336.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2010
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 8053
       Number           Street
                                                                             ❑   Contingent

        Mason, OH 45040
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.18    Wells Fargo                                                          Last 4 digits of account number 2595                                        $4,102.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2018
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 6995
       Number           Street
                                                                             ❑   Contingent

        Portland, OR 97228-6995
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 7 of 8
                                         Case 19-14173               Doc 1      Filed 03/28/19            Page 34 of 62
 Debtor 1              Janet                Stacy                  Kaplan
 Debtor 2              Michael              Richard                Kaplan                                      Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                               $0.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $58,574.33
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $58,574.33




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 8
                                               Case 19-14173
 Fill in this information to identify your case:
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     Debtor 1                   Janet                Stacy              Kaplan
                                First Name           Middle Name        Last Name

     Debtor 2                   Michael              Richard            Kaplan
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                          District of Maryland

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
 Fill in this information to identify your case:
                                                Case 19-14173              Doc 1        Filed 03/28/19         Page 36 of 62

  Debtor 1                        Janet                   Stacy            Kaplan
                                 First Name              Middle Name      Last Name

  Debtor 2                        Michael                 Richard          Kaplan
  (Spouse, if filing)            First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                                District of Maryland

  Case number                                                                                                                             ❑     Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                              Check all schedules that apply:
3.1                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number          Street                                                                                  ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                             Schedule H: Your Codebtors                                                             page 1 of 1
                                            Case 19-14173
 Fill in this information to identify your case:
                                                                      Doc 1         Filed 03/28/19             Page 37 of 62

  Debtor 1                   Janet                 Stacy              Kaplan
                             First Name            Middle Name       Last Name

  Debtor 2                   Michael                Richard           Kaplan
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                           District of Maryland                                         ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                          chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status                     ✔ Not Employed
                                                                           ❑Employed ❑                                         ✔Employed ❑Not Employed
                                                                                                                               ❑
     attach a separate page with
     information about additional              Occupation                                                                      Staff accountant
     employers.
                                               Employer's name                                                                 Hughes/Echostar
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address                                                              11711 Exploration Drive
     Occupation may include student                                         Number Street                                       Number Street
     or homemaker, if it applies.




                                                                                                                               Germantown, MD 20876
                                                                            City                     State   Zip Code           City                    State      Zip Code

                                               How long employed there?                                                         30 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                         $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                         $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                     page 1
 Debtor 1                  Janet                       Case
                                                        Stacy 19-14173                          Doc
                                                                                               Kaplan         1   Filed 03/28/19        Page 38 of 62
 Debtor 2                  Michael                          Richard                            Kaplan                                          Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.             $1,863.33                   $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify: See additional page                                                           8h.   +             $0.00       +        $2,619.18


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,863.33                $2,619.18

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $1,863.33   +            $2,619.18        =       $4,482.51

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $4,482.51
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ❑No.                       Debtor 1 hopes to find full time employment in near future. Debtor 2 is receiving disability income since 12/26/18, his disability income drops by
      ✔Yes. Explain:
      ❑                          30% in May and then will reduce continually from there.



Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1            Janet          Case
                                     Stacy 19-14173    Doc
                                                      Kaplan   1   Filed 03/28/19   Page 39 of 62
 Debtor 2            Michael          Richard         Kaplan                            Case number (if known)
                     First Name        Middle Name    Last Name




                                                                                                                 Amount



   8h. Other monthly income For Debtor 1
        Side consulting                                                                                             $0.00

   8h. Other monthly income For Debtor 2
        Disability Income                                                                                        $2,619.18




Official Form 106I                                     Schedule I: Your Income                                        page 3
                                            Case 19-14173
 Fill in this information to identify your case:
                                                                             Doc 1       Filed 03/28/19           Page 40 of 62

  Debtor 1                   Janet                    Stacy                  Kaplan
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                   Michael                  Richard                Kaplan                                ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                                 District of Maryland

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ✔ No
            ❑
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               13                  ❑No. ❑✔Yes.
                                                                                                                                                  ❑ No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                     $1,981.00


     If not included in line 4:
                                                                                                                                   4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                      $100.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                      $126.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1              Janet                Case
                                             Stacy 19-14173             Doc
                                                                       Kaplan   1      Filed 03/28/19       Page 41 of 62
 Debtor 2              Michael                Richard                  Kaplan                                   Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                                Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                     5.                        $440.00

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                             6a.                       $194.48

       6b. Water, sewer, garbage collection                                                                           6b.                        $72.63

       6c. Telephone, cell phone, Internet, satellite, and cable services                                             6c.                       $286.05

       6d. Other. Specify:                                                                                            6d.                         $0.00

 7.    Food and housekeeping supplies                                                                                 7.                        $800.00

 8.    Childcare and children’s education costs                                                                       8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                            9.                         $50.00

 10. Personal care products and services                                                                              10.                        $75.00

 11.   Medical and dental expenses                                                                                    11.                       $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                     12.                       $120.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                               13.                       $100.00

 14. Charitable contributions and religious donations                                                                 14.                       $150.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                      15a.                      $138.23
       15a. Life insurance
                                                                                                                      15b.                        $0.00
       15b. Health insurance
                                                                                                                      15c.                        $0.00
       15c. Vehicle insurance
                                                                                                                      15d.                        $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                       16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                17a.                      $350.02

       17b. Car payments for Vehicle 2                                                                                17b.                      $299.05

       17c. Other. Specify:                                                                                           17c.

       17d. Other. Specify:                                                                                           17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                       19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                               20a.                        $0.00

       20b. Real estate taxes                                                                                         20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                              20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                  20d.                       $48.58
       20e. Homeowner’s association or condominium dues                                                               20e.                        $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                                 page 2
 Debtor 1              Janet             Case
                                          Stacy 19-14173             Doc
                                                                    Kaplan   1     Filed 03/28/19           Page 42 of 62
 Debtor 2              Michael              Richard                 Kaplan                                      Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                         Vet Expenses                                                             21.     +              $50.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                    22a.                $5,581.04

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                            22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 22c.                $5,581.04


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                               23a.                $4,482.51

      23b. Copy your monthly expenses from line 22c above.                                                            23b.    –            $5,581.04

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                      23c.               ($1,098.53)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                               page 3
 Fill in this information to identify your case:
                                                      Case 19-14173                          Doc 1              Filed 03/28/19                       Page 43 of 62

  Debtor 1                         Janet                         Stacy                       Kaplan
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Michael                        Richard                    Kaplan
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                                 District of Maryland

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $361,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $117,611.04


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                         $478,611.04



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $386,845.84

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $58,574.33


                                                                                                                                                                  Your total liabilities                    $445,420.17

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $4,482.51


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $5,581.04




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                                          Case 19-14173                Doc 1         Filed 03/28/19              Page 44 of 62
 Debtor 1             Janet                  Stacy                    Kaplan
 Debtor 2             Michael                Richard                  Kaplan                                              Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $11,784.98




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                            Case 19-14173
 Fill in this information to identify your case:
                                                                    Doc 1        Filed 03/28/19              Page 45 of 62

  Debtor 1                   Janet                 Stacy            Kaplan
                             First Name            Middle Name     Last Name

  Debtor 2                   Michael               Richard          Kaplan
  (Spouse, if filing)        First Name            Middle Name     Last Name

  United States Bankruptcy Court for the:                         District of Maryland

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Janet Stacy Kaplan                                           ✘ /s/ Michael Richard Kaplan
        Janet Stacy Kaplan, Debtor 1                                      Michael Richard Kaplan, Debtor 2


        Date 03/28/2019                                                   Date 03/28/2019
                MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                              Case 19-14173               Doc 1          Filed 03/28/19         Page 46 of 62
 Fill in this information to identify your case:

  Debtor 1                   Janet                 Stacy               Kaplan
                             First Name            Middle Name        Last Name

  Debtor 2                   Michael               Richard             Kaplan
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                            District of Maryland

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                      Number    Street
                                                             To                                                                           To



    City                               State ZIP Code                                       City                     State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                         From
    Number      Street                                                                      Number    Street
                                                             To                                                                           To



    City                               State ZIP Code                                       City                     State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                                          Case 19-14173                     Doc 1      Filed 03/28/19              Page 47 of 62

Debtor 1            Janet                Stacy                    Kaplan
Debtor 2            Michael              Richard                  Kaplan                                              Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $1,100.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $89,781.18            bonuses, tips                         $43,291.23
    (January 1 to December 31, 2018         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $83,684.89            bonuses, tips                         $45,105.85
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Unemployment                                $3,233.00      Disability                                 $15,691.20
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                                            Case 19-14173                 Doc 1          Filed 03/28/19                Page 48 of 62

Debtor 1            Janet                Stacy                     Kaplan
Debtor 2            Michael              Richard                   Kaplan                                                 Case number (if known)
                    First Name              Middle Name             Last Name


    For last calendar year:                           Unemployment                                $2,150.00
    (January 1 to December 31, 2018          )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2017          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
               ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                             Dates of              Total amount paid            Amount you still owe        Was this payment for…
                                                             payment

                                                                                                                                          ✔ Mortgage
                                                                                                                                          ❑
              Flagstar Bank                                  01/07/2019                         $1,981.00                  $317,877.00
             Creditor's Name                                                                                                              ❑Car
              Attn: Bankruptcy                                                                                                            ❑Credit card
              5151 Corporate Drive                                                                                                        ❑Loan repayment
             Number      Street                                                                                                           ❑Suppliers or vendors
              Troy, MI 48098                                                                                                              ❑Other
             City                   State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
                                           Case 19-14173                  Doc 1         Filed 03/28/19                Page 49 of 62

Debtor 1            Janet                 Stacy                    Kaplan
Debtor 2            Michael               Richard                  Kaplan                                               Case number (if known)
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Nature of the case                           Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State      ZIP Code




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Debtor 1            Janet                  Stacy                   Kaplan
Debtor 2            Michael                Richard                 Kaplan                                          Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                    Date            Value of the property



    Creditor’s Name


    Number      Street                                              Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




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Debtor 1             Janet                  Stacy                   Kaplan
Debtor 2             Michael                Richard                 Kaplan                                          Case number (if known)
                     First Name             Middle Name             Last Name

     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave       Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                    Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                      Date of your loss      Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.




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Debtor 1             Janet              Stacy                   Kaplan
Debtor 2             Michael            Richard                 Kaplan                                         Case number (if known)
                     First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred              Date payment or       Amount of payment
     The Law Offices of Shipe & Bush, P.C.                                                                    transfer was made
    Person Who Was Paid                        Attorney's Fee
                                                                                                             3/27/2019                          $1,200.00
    Number     Street




     Frederick, MD 21704
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You

                                               Description and value of any property transferred              Date payment or       Amount of payment
     Debt Education and Certification                                                                         transfer was made
     Foundation
    Person Who Was Paid                                                                                      03/10/2019                            $25.00
     112 Goliad St
    Number     Street




     Fort Worth, TX 76126
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Janet               Stacy                   Kaplan
Debtor 2            Michael             Richard                 Kaplan                                            Case number (if known)
                    First Name          Middle Name             Last Name

                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




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Debtor 1            Janet                Stacy                    Kaplan
Debtor 2            Michael              Richard                  Kaplan                                              Case number (if known)
                    First Name           Middle Name              Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                   Last 4 digits of account number             Type of account or      Date account was          Last balance
                                                                                               instrument              closed, sold, moved, or   before closing or
                                                                                                                       transferred               transfer

     Capital One Bank
                                                                                               ✔Checking
                                                                                                                        01/25/2019                      $200.00
                                                                                               ❑
    Name of Financial Institution                  XXXX– 6        4    7        1
                                                                                               ❑Savings
    Number      Street                                                                         ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
     Frederick, MD 21704
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Who else had access to it?                        Describe the contents                      Do you still have
                                                                                                                                                 it?

                                                                                                                                                 ❑No
    Name of Financial Institution                  Name
                                                                                                                                                 ❑Yes

    Number      Street                             Number     Street



                                                   City                 State       ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Janet                 Stacy                    Kaplan
Debtor 2            Michael               Richard                  Kaplan                                                Case number (if known)
                    First Name            Middle Name               Last Name

                                                     Who else has or had access to it?                Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ❑No
    Name of Storage Facility                        Name
                                                                                                                                                       ❑Yes

    Number     Street                               Number     Street



                                                    City                  State    ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Where is the property?                           Describe the property                              Value


    Owner's Name
                                                    Number     Street


    Number     Street

                                                    City                  State    ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Janet               Stacy                   Kaplan
Debtor 2            Michael             Richard                 Kaplan                                            Case number (if known)
                    First Name          Middle Name             Last Name

                                                  Governmental unit                        Environmental law, if you know it               Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State    ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Governmental unit                        Environmental law, if you know it               Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State    ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Court or agency                          Nature of the case                              Status of the case


    Case title
                                              Court Name
                                                                                                                                           ❑Pending
                                                                                                                                           ❑On appeal
                                                                                                                                           ❑Concluded
                                              Number       Street


    Case number
                                              City                  State    ZIP Code




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Debtor 1             Janet                  Stacy                      Kaplan
Debtor 2             Michael                Richard                    Kaplan                                               Case number (if known)
                     First Name             Middle Name                Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                       Describe the nature of the business                         Employer Identification number
     Heaven is Within                                                                                              Do not include Social Security number or ITIN.
    Name
                                                      Hobby business - self help - no income
                                                                                                                    EIN:           –
     3643 Islington Street
    Number        Street
                                                       Name of accountant or bookkeeper                            Dates business existed


     Frederick, MD 21704                                                                                            From 12/23/2015       To
    City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                              MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




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Debtor 1           Janet                 Stacy                 Kaplan
Debtor 2           Michael               Richard               Kaplan                                          Case number (if known)
                   First Name            Middle Name            Last Name

Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                     /s/ Janet Stacy Kaplan                     ✘                  /s/ Michael Richard Kaplan
       Signature of Janet Stacy Kaplan, Debtor 1                        Signature of Michael Richard Kaplan, Debtor 2


       Date 03/28/2019                                                  Date 03/28/2019




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                                Case 19-14173     Doc 1STATES
                                           IN THE UNITED   Filed 03/28/19COURT
                                                              BANKRUPTCY    Page 59 of 62
                                                                 DISTRICT OF MARYLAND
                                                                  GREENBELT DIVISION

IN RE: Kaplan, Janet Stacy                                                                   CASE NO
       Kaplan, Michael Richard
                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       03/28/2019              Signature                                    /s/ Janet Stacy Kaplan
                                                                              Janet Stacy Kaplan, Debtor


Date       03/28/2019              Signature                                 /s/ Michael Richard Kaplan
                                                                         Michael Richard Kaplan, Joint Debtor
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                 Advanced Behavioral Health,
                 Inc.
                 1003 7th Street
                 Frederick, MD 21701



                 BB&T
                 Attn: Bankruptcy
                 PO Box 1847
                 Wilson, NC 27894



                 Children's Hospital
                 P.O. Box 37214
                 Baltimore, MD 21297




                 Citibank
                 PO Box 6077
                 Sioux Falls, SD 57117-6077




                 Citibank/Shell Oil
                 Citibank Corp/Centralized Bankruptcy
                 PO Box 790034
                 Saint Louis, MO 63179-0034



                 Citibank/The Home Depot
                 Attn: Recovery/Centralized Bankruptcy
                 PO Box 790034
                 St Louis, MO 63179



                 Flagstar Bank
                 Attn: Bankruptcy 5151 Corporate Drive
                 Troy, MI 48098




                 Frederick Memorial Hospital
                 400 W 7th St
                 Frederick, MD 21701-4506
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                 Hospitalist Medicine
                 Physicians of Maryland
                 PO Box 743522
                 Los Angeles, CA 90074



                 Monocacy Health Partners
                 PO Box 37040
                 Baltimore, MD 21297




                 Pediatrix Medical Group
                 Attn: Patient Services
                 P.O. Box 120153
                 Grand Rapids, MI 49528-0153



                 Scottsdale Pinnacle Owners
                 Association
                 PO Box 936510
                 Atlanta, GA 31193



                 Specialized Loan
                 Servicing/SLS
                 Attn: Bankruptcy Dept 8742 Lucent Blvd
                 #300
                 Highlands Ranch, CO 80129


                 Suntrust Bank
                 Attn: Bankruptcy
                 Mail Code VA-RVW-6290 PO Box 85092
                 Richmond, VA 23286



                 Synchrony Bank/Amazon
                 Attn: Bankruptcy
                 PO Box 965060
                 Orlando, FL 32896



                 Synchrony Bank/Car Care
                 Napa
                 Attn: Bankruptcy
                 PO Box 965060
                 Orlando, FL 32896-5060
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                 Toyota Financial Services
                 Attn: Bankruptcy
                 PO Box 8026
                 Cedar Rapids, IA 52409-8026



                 Villages of Urbana Community
                 Association, Inc.
                 c/o CAS, Inc.
                 18401 Woodfield Road Suite H
                 Gaithersburg, MD 20879


                 Visa Dept Store National
                 Bank/Macy's
                 Attn: Bankruptcy
                 PO Box 8053
                 Mason, OH 45040


                 Wells Fargo
                 Attn: Bankruptcy
                 PO Box 6995
                 Portland, OR 97228-6995
